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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 Thomas J. Polis, Esq. (SBN 119326)
 POLIS & ASSOCIATES, APLC                                                                                FILED & ENTERED
 19800 MacArthur Blvd., Suite 1000
 Irvine, CA 92612
 Tel: 949.862.0040                                                                                               JUL 03 2024
 Fax: 949.862.0041
 Email: tom@polis-law.com
                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY gooch      DEPUTY CLERK




     Debtor(s) appearing without attorney
     Attorney for Plaintiff

                                          UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION

 In re:                                                                      CASE NO.: 6:23-bk-14843-WJ
 HUGO LEON,                                                                  CHAPTER: 7
                                                                             ADVERSARY NO.: 6:24-ap-01002-WJ
                                                                 Debtor.
                                                                                              DEFAULT JUDGMENT
 LYNDA T. BUI, exclusively in her capacity as
                                                                                          (WITHOUT PRIOR JUDGMENT)
 the Chapter 7 Trustee for the bankruptcy
 estate of Hugo Leon,
                                                                             Hearing:
                                                                             Date: June 13, 2024
                                                                Plaintiff.   Time: 1:30 p.m.
                                    vs.                                      Crtrm.: 304

 SHEMUYL LEON, individually and as Trustee
 of The Aryshem Living Trust,

                                                           Defendants.




          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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Based on the Defendant’s failure to respond to the Complaint, the court renders its judgment as follows:

1.       Judgment is hereby entered in favor of Plaintiff Lynda T. Bui, exclusively in her capacity as the chapter 7 trustee
for the bankruptcy estate of Hugo Leon, and against Defendant Shemuyl Leon, individually and as Trustee of The
Aryshem Living Trust.

2.   a.       Plaintiff is awarded damages in the following amount:                                    $
     b.       Plaintiff is awarded costs in the following amount:                                      $
     c.       Plaintiff is awarded attorney fees in the following amount:                              $
     d.       Plaintiff is awarded interest at the rate of      % per year from the following date to the date of entry of this
              judgment (specify date from which interest shall begin to run):
     e.       Plaintiff is granted the following relief:
              Judgment is granted in favor of the Chapter 7 Trustee declaring the January 3, 2020 Grant Deed (Attached
              hereto as Exhibit “A”) and the February 13, 2020 Trust Transfer Deed (Attached hereto as Exhibit “B”), both
              null and void.

              See attached page.

IT IS SO ORDERED.
                                                                          ###




                 Date: July 3, 2024




          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                  EXHIBIT “A”
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                  EXHIBIT “B”
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RECORDING REQUESTED BY:

SHEMUYL LEON

WHEN RECORDED MAIL TO:

SHEMUYL LEON
14181 Southwood Dr.
Fontana, CA 92337

APN: 0236-491-14

                                                   (Space Above for Recorder's Use)

                                  TRUST TRANSFER DEED

THE UNDERSIGNED GRANTORS DECLARE DOCUMENTARY TRANSFER TAX IS $0.
This conveyance transfers an interest into or out of a Living Trust; R&T Code § 11930.

       SHEMUYL LEON, a single man,

hereby GRANT(S) his entire interest in and to

       SHEMUYL LEON as Trustee of THE ARYSHEM LIVING TRUST,

the following described real property in the City of Fontana, County of San Bernardino, State of
California:


    LOT 14 OF TRACT 12356, IN THE CITY OF FONTANA, COUNTY OF SAN
BERNARDINO, CALIFORNIA AS PER MAP RECORDED IN BOOK189, PAGE(S) 33
THROUGH 35, INCLUSIVE OF MISCELLANEOUS MAPS, IN THE OFFICE OF TIIE
COUNTY RECORDER OF SAID COUNTY.




       Commonly known as:14181 Southwood Dr. Fontana, CA 92337




Dated: February 5, 2020

                                                    SHEMUYL LEON
